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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


  Civil Action No.

  RCI HOSPITALITY HOLDINGS, INC.,
  BIG SKY HOSPITALITY HOLDINGS, INC.,
  EVANS DINING SERVICES, INC., dba PT’S SHOWCLUB,
  GALENA DINING SERVICES, INC., dba PT’S SHOWCLUB CENTERFOLD,
  GLENARM DINING SERVICES, INC., dba DIAMOND CABARET,
  STOUT DINING SERVICES, INC., dba RICK’S CABARET, and
  KEVIN DUERBUSCH,

        Plaintiffs,

  v.

  CITY AND COUNTY OF DENVER, COLORADO,
  DENVER AUDITOR’S OFFICE,
  DENVER AUDITOR TIMOTHY O’BRIEN,
  DENVER LABOR,
  DENVER LABOR EXECUTIVE DIRECTOR MATTHEW FRITZ-MAUER, in his
  individual and official capacities, and
  DENVER LABOR HEARING OFFICER ELLEN KELMAN,

         Defendants.


                           COMPLAINT AND JURY DEMAND


       Plaintiffs RCI Hospitality Holdings, Inc. (“RCI”), Big Sky Hospitality Holdings, Inc.

 (“Big Sky”), Evans Dining Services, Inc., dba PT’s Showclub (“PT’s Showclub”), Galena

 Dining Services, Inc., dba PT’s Showclub Centerfold (“PT’s Showclub Centerfold”),

 Glenarm Dining Services, Inc., dba Diamond Cabaret (“Diamond Cabaret”), Stout

 Dining Services, Inc., dba Rick’s Cabaret (“Rick’s Cabaret”) (PT’s Showclub, PT’s

 Showclub Centerfold, and Diamond Cabaret, together with Rick’s Cabaret, “Plaintiff
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 Clubs”), and Kevin Duerbusch (“Mr. Duerbusch”) (RCI, Big Sky, Plaintiff Clubs, together

 with Mr. Duerbusch, “Plaintiffs”), through undersigned counsel, allege and aver the

 following.

                                     INTRODUCTION

        1.     The City and County of Denver, the Denver Auditor’s Office, Denver

 Auditor Timothy O’Brien, Denver Labor, Denver Labor Executive Director Matthew Fritz-

 Mauer, and Denver Labor Hearing Officer Ellen Kelman (collectively, “Defendants”),

 have blatantly and repeatedly exceeded the scope of their authority under the Denver

 Revised Municipal Code (“DRMC”), in their unprecedented attacks on Defendants.

        2.     This case represents the shocking and unconstitutional government

 overreach of these Defendants, led by Denver Labor Executive Director Matthew Fritz-

 Mauer who has been on a years-long crusade to “rescue” the women who perform at

 adult clubs from what Defendants wrongly characterize as a predatory relationship.

        3.     The individuals who perform as entertainers at Plaintiff Clubs did not ask

 for Defendants’ “help.” They are self-sufficient women who choose to make a living in

 the adult nightclub industry, and who negotiated their own legal statuses as licensees

 with Plaintiffs in order to have the benefits and freedoms that come from controlling their

 own schedules, performing at however many clubs they wish, and maintaining their

 independence, autonomy, and anonymity.

        4.     In alarmingly paternalistic fashion, Defendants have taken it upon

 themselves to launch a barrage of legally unauthorized investigations into Plaintiffs




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 under the guise of recovering “stolen wages” for entertainers, who are not employees of

 Plaintiffs, but instead perform for and primarily get paid directly from customers.

        5.     In so doing, Defendants have far exceeded the scope of their limited

 statutorily-granted investigative and enforcement powers, trampled indiscriminately on

 Plaintiffs’ due process rights, imposed exorbitant fines, and imposed unjustified adverse

 and harmful inferences, constituting unlawful government takings that have no basis in

 local, state, or federal law.

        6.     Plaintiffs bring this lawsuit not only to assert and protect their constitutional

 rights, but also to enjoin the ongoing and blatant abuse of government power by

 Defendants and halt their public dissemination of the false conclusions made outside

 the bounds of any legally authorized procedures.

        7.     If the courts do not swiftly address this unlawful overreach, it will set a

 dangerous precedent, placing every individual working, employed, contracted, or

 conducting business in Denver at the mercy of Denver Labor’s arbitrary and capricious

 enforcement of the law. This unchecked power threatens the rights and livelihoods of

 the entire Denver workforce.

        8.     Defendants’ actions are not merely a misstep—they are a deliberate,

 unlawful attempt to obliterate the legal distinctions between independent contractors,

 licensees, and employees. By forcibly reclassifying individuals into employee-employer

 relationships they never agreed to, Denver Labor seeks to undermine entire industries

 in Denver, destroying established working relationships and eroding the freedoms of




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 those who rely on independent contracting to sustain their businesses. This aggressive

 stance threatens the very fabric of entrepreneurship in the city.

        9.     Acting under color of law, Denver Labor has illegally accessed confidential

 business records, including private information such as names, addresses, phone

 numbers, hours worked, and pay details of hundreds of employees without consent

 from the individuals involved. This unauthorized access to sensitive personal data has

 resulted in the imposition of arbitrary and unjust penalties against Plaintiffs, implicating

 workers who never consented to be part of this dispute.

        10.    Denver Labor’s actions constitute a flagrant violation of the privacy rights

 of these individuals, denying them basic autonomy and their right to choose whether

 they wish to participate in government action.

        11.    Denver Labor’s actions are particularly egregious when it comes to

 independent entertainers. These entrepreneurial women—many of whom have

 established successful careers in many different fields based on their autonomy—are

 now being coerced into an employee classification, thereby stripping them of their ability

 to determine their own work schedules, control their income, and manage their

 professional lives inside and outside of the clubs.

                                        THE PARTIES

        12.    Plaintiff RCI is a Texas corporation with its principal place of business in

 Houston, Texas. RCI is a publicly traded company with a portfolio of adult nightclubs in

 approximately 13 states, including Colorado.




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       13.    Plaintiff Big Sky, is a Texas corporation with its principal place of business

 in Houston, Texas. Big Sky is a wholly owned subsidiary of RCI.

       14.    Plaintiff PT’s Showclub is a Colorado corporation with its principal place of

 business in Denver, Colorado.

       15.    Plaintiff PT’s Showclub Centerfold is a Colorado corporation with its

 principal place of business in Denver, Colorado.

       16.    Plaintiff Diamond Cabaret is a Colorado corporation with its principal place

 of business in Denver, Colorado.

       17.    Plaintiff Rick’s Cabaret is a Colorado corporation with its principal place of

 business in Denver, Colorado.

       18.    Plaintiff Kevin Duerbusch is an individual, a United States citizen, and

 resident of Denver, Colorado. At all times relevant, he has worked as the General

 Manager at Diamond Cabaret.

       19.    Defendant City and County of Denver, Colorado (the “City” or “Denver”) is

 a home-rule municipality and a municipal corporation of the State of Colorado under the

 Colorado Constitution, Article XX.

       20.    Defendant Denver Auditor’s Office (the “Auditor’s Office”) is a unit or

 department of the City.

       21.    Defendant Denver Labor is a unit or department of the Auditor’s Office,

 though Denver Labor is not authorized as an entity, nor does it have delegated power

 under the DRMC.




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        22.    Defendant Timothy O’Brien (“Auditor O’Brien” or the “Auditor”) is the

 independently-elected Auditor for the City, and is a resident and domiciled in the State

 of Colorado. At all times relevant, Auditor O’Brien was acting under color of law and in

 his capacity as Auditor. Auditor O’Brien is being sued in his official capacity.

        23.    Defendant Ellen Kelman (“Hearing Officer Kelman”) is an attorney who,

 upon information and belief is contracted by the Auditor’s Office, to serve as a Hearing

 Officer for disputes involving Denver Labor, and is a resident and domiciled in the State

 of Colorado. At all times relevant, Hearing Officer Kelman was acting under color of law

 and in her capacity as Hearing Officer for Denver Labor. Hearing Officer Kelman is

 being sued in her official capacity.

        24.    Defendant Matthew Fritz-Mauer (“Director Fritz-Mauer” or “Fritz-Mauer”) is

 the Executive Director of Denver Labor, and is a resident and domiciled in the State of

 Colorado. At all times relevant hereto, Director Fritz-Mauer was acting under color of

 law and in his capacity as Executive Director of Denver Labor. Director Fritz-Mauer is

 being sued in his official and individual capacities.

                                JURISDICTION AND VENUE

        25.    This action arises under the Constitution and laws of the United States

 and is brought pursuant to 42 U.S.C. § 1983.

        26.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331

 and 28 U.S.C. § 1343.




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        27.     This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a)

 because the same transactions and occurrences that form the basis of Plaintiffs’ federal

 claims also form the basis of Plaintiffs’ other claims.

        28.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 2201,

 as there exists an actual controversy between the Plaintiffs and Defendants regarding

 the scope of Defendants’ legal authority to investigate, enforce, and penalize alleged

 violations of wage theft laws under Chapter 58 of the DRMC, including whether Denver

 Labor's investigatory and enforcement actions, internal rules and procedures, demands

 for confidential and other business records, and imposition of penalties, exceed the

 statutory limitations set forth in the DRMC, Denver’s City Charter, and Colorado law.

        29.     Venue is appropriate in this district pursuant to 28 U.S.C. § 1391(b)(1) and

 28 U.S.C. § 1391(b)(2) because all Defendants are municipalities, cities, departments,

 and residents of Colorado and a substantial part of the acts giving rise to this action

 occurred in this judicial district.

                                       STATEMENT OF FACTS

 Colorado Law Regarding Minimum Wage

        30.     The Colorado Wage Claim Act, Colo. Rev. Stat. §§ 8-4-101 to 124

 (“CWCA”) and the Colorado Minimum Wage Act, Colo. Rev. Stat. §§ 8-6-101 to 120

 (“CMWA”) is the body of law that governs minimum wage and overtime pay for

 Colorado employees.

        31.     The Colorado Director of the Division of Labor Standards and Statistics

 (“DLSS”) is granted authority to regulate overtime pay and wage-related matters under


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 the Colorado Department of Labor and Employment (“CDLE”). See Colo. Rev. Stat. §§

 8-4-111, 8-6-105, 8-6-108, 8-13.3-407.

        32.    The Colorado General Assembly has further reinforced state-level

 enforcement mechanisms through SB-161, which established a worker protection unit

 within the Colorado Attorney General’s Office to oversee compliance with wage laws.

        33.    Additionally, the CWMA allows local governments to implement higher

 minimum wages than the state rate but does not grant them enforcement authority over

 wage-related violations beyond their local wage laws.

        34.    Similarly, the CWCA and CMWA are implemented through state-

 promulgated Colorado Overtime and Minimum Pay Standards (“COMPS”) Orders,

 govern minimum wage, overtime, and other wage protections on a statewide basis.

        35.    The COMPS Orders—successive versions of which have been in effect

 since March 2020—supersede prior wage orders and establish the DLSS as the sole

 regulatory authority for wage and hour matters across Colorado. These orders explicitly

 state that the DLSS has exclusive jurisdiction over wage enforcement and

 interpretation, precluding other agencies or local governments from asserting authority

 over wage-related issues beyond what state law expressly permits. See Rule 8.6 of

 each COMPS Order titled “Divisional and Dual Jurisdiction” (stating that the DLSS “has

 jurisdiction over all questions arising with respect to the administration and interpretation

 of the COMPS Order.”).




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 The Auditor’s Limited Authority to Investigate Employers

        36.    In Denver, the Auditor is an elected official who serves the City

 independently from the Mayor’s Office and Denver City Council.

        37.    The Auditor’s authority arises from Denver’s City Charter, Article V, which

 sets forth the general powers and duties of the Auditor. Among other things, the

 Auditor’s powers and duties include the power to conduct financial and performance

 audits of City departments and agencies, the duty to chair the City’s Audit Committee,

 and the authority to carry out other duties specifically assigned to the Auditor by

 ordinance. See Denver City Charter § 5.2.1.

        38.    In 2019, the Colorado General Assembly enacted HB 19-1210, which

 revised state wage laws, effective January 1, 2020. This legislation granted local

 governments the authority to set a minimum wage higher than the statewide rate and to

 enforce their own local minimum wage laws. Enforcement mechanisms include private

 rights of action, fines, penalties, recovery of unpaid wages, liquidated damages,

 interest, attorney’s fees, and any other provisions necessary to uphold the local

 minimum wage. See Colo. Rev. Stat. § 8-6-101(3).

        39.    Additionally, Colo. Rev. Stat. § 29-1-1401 affirms that local governments

 may enact laws establishing a minimum wage for work performed within their

 jurisdiction, provided such laws align with the requirements of Colo. Rev. Stat. § 8-6-

 101.

        40.    In November 2019, Denver City Council designated additional duties and

 powers to the Auditor when it added Chapter 58 to the DRMC.


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        41.    The original intent of Chapter 58 was to ensure that as many Denver

 workers as possible were paid at least minimum wage. Denver City Council sought to

 achieve this goal by, in part, creating a new, Denver-specific minimum wage.

        42.    Notably, and logically, Denver City Council explicitly excluded independent

 contractors from Chapter 58’s definition of “worker,” thereby exempting them from

 Denver’s new minimum wage requirement.

        43.    Specifically, Chapter 58 defined “worker” as “a person performing work,

 and includes, but is not limited to: full time employees, part-time employees, temporary

 workers, agents, and any other person or entity performing work on behalf of or for the

 benefit of an employer. This definition shall not apply to work performed by independent

 contractors while acting solely in such capacity or by persons providing volunteer

 services that are uncompensated except for reimbursement of expenses such as meals,

 parking or transportation.” See DRMC § 58-18(e) (2019).

        44.    Chapter 58 also created mechanisms to enforce and investigate alleged

 violations of the DRMC’s new Denver-specific minimum wage provisions. Denver City

 Council designated these limited enforcement and investigative powers to the Auditor.

        45.    In November 2022, Denver City Council sought to expand the scope of

 Chapter 58 beyond minimum wage enforcement by way of a sweeping amendment

 (“Civil Wage Theft Bill”). The Civil Wage Theft Bill, inter alia, proposed the creation of a

 civil penalty for wage theft offenses, the imposition of a requirement that employers

 maintain payroll records for three years, and the delegation of even more enforcement




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 and investigative powers to the Auditor, outside the bounds of authority granted under

 Colo. Rev. Stat. §§ 8-6-101 and 29-1-1401.

       46.    The Civil Wage Theft Bill also sought to expand the definition of “worker”

 by removing the former express exclusion of independent contractors.

       47.    The new definition states that “worker means a natural person performing

 work, and includes, but is not limited to: full time employees, part-time employees,

 temporary workers, agents, and any other persons performing work on behalf of or for

 the benefit of an employer or other person.” See DRMC § 58-1(11).

       48.    The Civil Wage Theft Bill was passed by Denver City Council on January

 9, 2023, and signed by then-Mayor Michael Hancock the following day, formally

 amending Chapter 58 of the DRMC and empowering the Auditor to investigate alleged

 violations not only of Denver’s minimum wage requirement, but also its civil wage theft

 provisions (as passed “Civil Wage Theft Ordinance”).

       49.    The enforcement and investigative powers promulgated by Chapter 58, as

 amended, are expressly granted to the Auditor, and the Auditor alone. Specifically:

              a.     DRMC § 58-3(a)(1) provides that “[a]ny person may submit a

                     written complaint of a violation of this article to the auditor;”

              b.     DRMC § 58-3(b) provides that “[t]he auditor may initiate an

                     investigation into violations of this article absent a complaint if there

                     is a reasonable basis to believe that a violation occurred;”

              c.     DRMC § 58-4(b) provides that “[t]he auditor is authorized to

                     assess civil penalties pursuant to this article;” and


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               d.     DRMC § 58-2(c)(2) provides that “[p]ursuant to a wage

                      investigation or a private right of action, the auditor may request a

                      certified copy of payroll records for all workers for a three (3) year

                      period from an employer.”

 See DRMC § 58-2 to § 58-4 (emphasis added).

        50.    Though the amendments to Chapter 58 under the Civil Wage Theft Bill

 were significant, the investigative powers ultimately granted to the Auditor are limited.

 Indeed, the Auditor only has the authority to initiate a wage theft investigation into an

 employer under two narrowly-defined sets of circumstances.

        51.    The first circumstance in which the Auditor may initiate a civil wage theft

 investigation is where the Auditor receives a written complaint specifically alleging a

 violation, submitted either by a worker or a third party (“Complaint-Initiated

 Investigation”). See DRMC § 58-3(a)(1).

        52.    In order to trigger a Complaint-Initiated Investigation, certain information

 must be set forth in the written complaint, including:

               a.     The worker’s name and/or the name of their duly authorized

                      representative, if applicable;

               b.     The worker’s contact information;

               c.     A detailed statement of the employer or other person’s alleged

                      violation, including readily available supporting documentation

                      demonstrating a violation; and




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              d.     Any additional information requested by the Auditor or pursuant to

                     rules issued by the Auditor.

 See DRMC § 58-3(a)(1).

       53.    The DRMC further provides that “[t]he burden of demonstrating to the

 auditor’s satisfaction that a violation has occurred rests with the person making the

 complaint and shall be demonstrated by a preponderance of the evidence. If a

 complaint is deemed credible by the auditor, the auditor shall notify the complained-of-

 party and shall provide a summary of findings regarding any such complaint to the

 complained-of-party, worker, and complainant, if applicable.” See DRMC § 58-3(a)(3).

       54.    The second circumstance in which the Auditor may initiate an investigation

 is where the Auditor has a reasonable basis to believe that a wage theft violation has

 occurred (“Reasonable Basis Investigation”). See DRMC § 58-3(b). The DRMC

 defines a reasonable basis as existing where:

              a.     The owner or partial owner of a legal entity has violated the terms

                     of Chapter 58 with respect to another entity with common

                     ownership interests;

              b.     A pattern and practice, including, but not limited to, receipt of

                     multiple credible complaints filed against a particular industry,

                     demonstrates an increased likelihood that certain workers within an

                     industry are regularly not paid wages;

              c.     The Auditor receives credible information from a governmental

                     agency that demonstrates an increased likelihood that a particular


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                      employer or industry has failed to comply with the terms of Chapter

                      58; or

               d.     The Auditor, relying upon data collected or received by the City,

                      establishes a reasonable basis to conclude that a particular person

                      or industry is likely to have failed to comply with the terms of

                      Chapter 58.

 See DRMC § 58-3(b)(1-4).

        55.    Complaint-Initiated Investigations and Reasonable Basis Investigations

 are the only two types of civil wage theft investigations the Auditor has the authority to

 initiate pursuant to the DRMC.

        56.    Denver Labor issued its own Civil Wage Theft Rules intended to outline

 the procedures and interpretations the City employs when enforcing the Civil Wage

 Theft Ordinance. These rules sought to clarify Denver labor law and how Denver Labor,

 a division of the Auditor’s Office, applies the ordinance. However, the Colorado General

 Assembly did not grant local governments authority to regulate state overtime, wage

 theft, or other wage and hour matters beyond establishing a local minimum wage.

 Despite this, the Civil Wage Theft Rules contain provisions that improperly attempt to

 give Denver Labor the ability to enforce state wage laws.

        57.    Denver’s Civil Wage Theft Rules also introduce an enforcement structure

 that includes investigative procedures, penalties, and appeals—all handled by the

 Auditor’s Office. These provisions establish an independent enforcement scheme that

 directly conflicts with the DLSS’s exclusive wage enforcement authority.


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        58.    Denver Labor also implemented its own Rules of Procedure for Appeals

 and Hearings, which took effect on June 22, 2023. These procedures govern all

 administrative processes related to Chapter 58 of the DRMC. Rather than adhering to

 the Colorado Administrative Procedures Act, as outlined in the CDLE Wage Order and

 COMPS Orders, the Auditor’s Office established its own independent administrative

 framework.

        59.    Neither the Civil Wage Theft Rules nor Denver Labor’s Rules of Procedure

 for Appeals and Hearings were properly promulgated pursuant to the DRMC’s notice

 and rulemaking authority.

 The Auditor Pushes City Council to Expand his Authority by Granting him
 Subpoena Power

        60.    On April 3, 2024, Bill No. 24-0476 was introduced in Denver City Council.

 The bill, backed by the Auditor’s Office, was officially titled “An Ordinance Amending

 Chapter 58 to Authorize the Auditor to Issue Investigatory Subpoenas in Connection

 with the Enforcement of Certain Wage Violations” (“Subpoena Powers Bill”).

        61.    The Subpoena Powers Bill was passed by Denver City Council on April

 29, 2024, and signed into law by the mayor on May 2, 2024.

        62.    The Subpoena Powers Bill further amended Chapter 58 of the DRMC by

 granting the Auditor authority to issue investigatory subpoenas in connection with

 certain wage violations.

        63.    The scope of the subpoena power conferred on the Auditor by DRMC §

 58-4 is intended to be narrow. Importantly, it did not provide unfettered access to all

 types of business records, as Denver Labor falsely communicates to businesses

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 together with its threats of “adverse inferences” and “fines” if requested records are not

 handed over, despite Denver Labor’s complete lack of authority to request them.

        64.     Rather, DRMC § 58-4 authorizes the Auditor to subpoena records related

 to certain wage investigations only after first submitting a written request to the

 employer and responding to any attempts by the business to confer. See DRMC § 58-

 4(c)(1).

        65.     The Subpoena Powers Bill was not the first—or the last—time the Auditor

 advocated obtaining or expanding his own subpoena power.

        66.     For example, in May 2021, at the Auditor’s request, Denver City Council

 granted the Auditor’s Office subpoena power for the first time. Later that year, after

 significant pushback from local businesses and community stakeholders, Denver City

 Council passed an amendment that would allow businesses to provide access to their

 confidential records on-site, rather than being forced to produce copies directly to the

 Auditor’s Office. The Auditor balked at this reasonable limitation on his subpoena

 power and filed a lawsuit in an effort to pressure Denver City Council to strike down the

 amendment. Instead, Denver City Council repealed the bill in its entirety.

        67.     The Subpoena Powers Bill was ultimately passed by a Denver City

 Council that was composed of different members than the one the Auditor sued three

 years prior.

        68.     Within months of the Auditor successfully securing subpoena power for

 certain civil wage theft investigations through the Subpoena Powers Bill, the Auditor’s

 Office pushed to expand its subpoena powers even further.


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       69.      In September 2024, Denver City Council passed a second bill granting the

 Auditor subpoena power, this time for performance audits. In response to valid

 community concerns that the bill would give the Auditor’s Office too much power,

 Denver City Council added an amendment that gave an audit committee, comprised of

 six members appointed by the mayor and the Auditor, oversight of the performance

 audit subpoena process. Astonishingly, this same oversight does not apply to civil

 wage theft subpoenas issued pursuant to DRMC § 58-4.

 The Auditor Improperly Delegates his Exclusive Authority to Denver Labor and
 Director Fritz-Mauer

       70.      Despite the clear language of the DRMC, which vests authority to

 investigate and enforce wage theft violations in the Auditor, an elected official, and the

 Auditor alone, the Auditor and the Auditor’s Office have established an illegal policy of

 delegating this authority to Denver Labor and, more problematically, to Director Fritz-

 Mauer who, despite practicing as attorney in the past for Hearing Officer Kelman’s small

 private practice law firm, is in a non-attorney position wielding governmental power

 under color of law which is entirely unchecked and unauthorized.

       71.      Indeed, in flagrant disregard for the limits of his statutory authority, the

 Auditor has apparently delegated the entirety of his powers and responsibilities

 pursuant to Chapter 58 of the DRMC to the “Denver Labor division,” led by Director

 Fritz-Mauer.

       72.      Prior to being promoted—not appointed or elected—to serve as the

 Executive Director of Denver Labor, Director Fritz-Mauer was hired as the Labor Policy

 Director of Denver Labor in January 2023. Before that, Fritz-Mauer practiced for fewer

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 than three years as an attorney at Hearing Officer Kelman’s small private practice law

 firm, the Kelman Buescher Law Firm, in Denver, Colorado.

       73.    The Auditor is a duly elected public official. Fritz-Mauer is not.

       74.    The Auditor’s Office is duly authorized by Denver’s City Charter, Article V.

 Denver Labor is not.

       75.    Although the City Charter grants the Auditor the authority to appoint a

 deputy to exercise such powers that the Auditor specifically assigns, Director Fritz-

 Mauer has not been so appointed nor deputized. See Denver City Charter § 5.2.1(G).

 Further, another person – not Director Fritz-Mauer – serves in the role of Deputy

 Auditor.

       76.    Upon information and belief, no person who works for the “Denver Labor

 division” of the Auditor’s Office been so appointed or deputized.

 Denver Labor Improperly Begins Investigating Plaintiff Clubs

       77.    On or about May 3, 2023, Denver Labor launched its investigations into

 Plaintiffs, beginning with Diamond Cabaret and PT’s Showclub.

       78.    Initially, Denver Labor represented to Diamond Cabaret and PT’s

 Showclub—falsely—that it was conducting a “routine compliance audit.”

       79.    Instead, Denver Labor had surreptitiously initiated a targeted strategic

 enforcement investigation into Diamond Cabaret and PT’s Showclub, without any

 initiating authority under the DRMC.

       80.    By its own ex post facto explanation to Plaintiffs’ legal counsel when

 Denver Labor was confronted months later regarding the source of the initiating


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 complaint, Denver Labor admitted that Director Fritz-Mauer initiated the civil wage theft

 investigation when he and other Denver Labor staff members decided amongst

 themselves that the hospitality industry was at “high risk” for wage theft.

        81.    Director Fritz-Mauer admitted that he decided to focus on investigating

 strip clubs because he was personally “aware of significant empirical data establishing

 that strip clubs in particular are at high risk for misclassification and wage theft.” To

 identify his targets for his “strategic enforcement” he “researched what strip clubs there

 were in Denver, and [] opened up proactive investigations.”

        82.    In other words, the investigation was not an DRMC-authorized Complaint-

 Initiated Investigation, pursuant to which the Auditor—not Fritz-Mauer— would have

 been empowered to investigate Diamond Cabaret and PT’s Showclub.

        83.    The investigation was also not an authorized Reasonable Basis

 Investigation, which similarly would have authorized the Auditor—not Fritz-Mauer—to

 investigate Diamond Cabaret and PT’s Showclub. Not only was the investigation not

 precipitated by multiple credible complaints, not based on credible information from a

 government agency, and not based on data obtained by the Auditor, the Auditor was

 not even involved in the decision to initiate the investigations in any capacity.

        84.    The “proactive” investigations, concealed as “routine compliance audits,”

 ordered by Director Fritz-Mauer and initiated without the Auditor’s involvement and

 outside of statutory authorities granted under the DRMC, targeted Plaintiff Clubs solely

 because of the industry in which they operate and not because of anything particular to

 the actual Plaintiff Clubs’ operations or practices.


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        85.    Moreover, the investigation was not founded on a reasonable basis as

 defined by the DRMC, but on Director Fritz-Mauer’s subjective and personal

 misogynistic beliefs that women in the adult entertainment industry cannot properly,

 knowingly, or reasonably contract for themselves.

        86.    From its inception, Denver Labor’s investigation into Plaintiff Clubs

 operated outside the statutory bounds of Chapter 58 of the DRMC.

        87.    Indeed, no formal notice of investigation—as required by DRMC § 58-

 1(9)—was ever provided to either Diamond Cabaret or PT’s Showclub.

        88.    On June 15, 2023, Denver Labor issued “Failure to Pay Minimum Wage

 and Additional Information Request” letters to Diamond Cabaret and PT’s Showclub. In

 addition to misrepresenting that the letters were sent in follow up to its “routine

 compliance audit,” the letters also requested documents including workers’ contact

 information, scheduling information, wage and tax records, and documentation on

 policies dating back to December 1, 2021.

        89.    On June 28, 2023, Denver Labor opened a separate, concurrent

 investigation also misnomered as a “routine compliance audit” into PT’s Showclub

 Centerfold.

        90.    No formal notice of investigation—as required by DRMC § 58-1(9)—was

 provided to PT’s Showclub Centerfold.

        91.    Instead, Denver Labor issued a “Failure to Pay Minimum Wage and

 Additional Information Request” letter to PT’s Showclub Centerfold, requesting the

 same information it sought from Diamond Cabaret and PT’s Showclub.


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          92.   On August 9, 2023, and August 10, 2023, Diamond Cabaret and PT’s

 Showclub voluntarily responded to Denver Labor’s requests by providing hundreds of

 employee documents to Denver Labor under the auspices of a routine compliance

 audit.

          93.   Similarly, on September 1, 2023, PT’s Showclub Centerfold voluntarily

 responded to Denver Labor’s request by providing its employee documents to Denver

 Labor also under the auspices of a routine compliance audit.

          94.   Eight months later—during which time the Auditor was busy acquiring his

 new subpoena powers—Denver Labor finally responded to Diamond Cabaret, PT’s

 Showclub, and PT’s Showclub Centerfold regarding the provided documentation.

          95.   Specifically, on May 15, 2024, less than two weeks after the Auditor’s new

 subpoena powers were signed into law, Denver Labor issued Diamond Cabaret, PT’s

 Showclub, and PT’s Showclub Centerfold “Additional Information Request Letters.”

 These letters sought information not about employees, but about the entertainers who

 perform at the Plaintiff Clubs. Denver Labor demanded a response by June 21, 2024.

          96.   In the letters, Denver Labor requested “signed lease agreements,

 payment records, hours worked, contact information, classification details, and pay

 records (including tips and deductions) for all entertainers/performers.”

          97.   Denver Labor did not request a certified copy of payroll records, which the

 Auditor—not Denver Labor—is authorized to request pursuant to DRMC § 58-2(c)(2).

          98.   Denver Labor further broadened the scope of its records request by

 increasing the date range for records sought, backward to May 3, 2020, for PT’s


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 Showclub and June 28, 2020, for PT’s Showclub Centerfold, despite having no statutory

 authority to do so and despite Plaintiff Clubs previously informing Denver Labor that

 Plaintiff Clubs were each under different ownership prior to July 2021.

        99.    On May 29, 2024, Plaintiff Clubs responded to Denver Labor through their

 counsel. Plaintiff Clubs informed Denver Labor that they were contractually prohibited

 from providing personal contact information for entertainers. Plaintiff Clubs further

 explained that the entertainers were not employees or “workers” as contemplated by the

 DRMC, but rather licensees who paid a site rental fee in order to rent performance time

 and space at the Plaintiff Clubs’ locations.

        100.   Plaintiff Clubs also put Denver Labor on notice that their agreements with

 the entertainers were protected by a strict confidentiality clause, and that releasing

 confidential and personal entertainer information without all parties’ consent would

 breach this agreement.

        101.   Plaintiff Clubs asked Denver Labor to withdraw its improper request for

 entertainer information which was not authorized under the DRMC, but affirmed they

 would voluntarily participate with Denver Labor by providing additional documentation

 for their actual employees.

        102.   Indeed, on June 14, 2024, the Plaintiff Clubs submitted additional

 documentation related to employees to Denver Labor.

        103.   Nonetheless, Denver Labor issued “Final Notices to Provide Payroll

 Records” to Plaintiff Clubs on June 17, 2024, specifically directed at confidential




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 entertainer records. These notices warned that the failure to provide “a complete and

 certified payroll” for entertainers would result in $1,000.00 per day penalties.

        104.   Despite repeatedly informing Denver Labor that entertainers are not

 employees and all records requested were subject to contractual confidentiality

 restrictions that had not been waived by the entertainers or Plaintiff Clubs, Denver

 Labor, acting wholly outside of the Auditor’s statutory authorities under the DRMC,

 subsequently imposed excessive daily fines and penalties against Plaintiff Clubs.

 Denver Labor Unlawfully Attempts to Wield the Auditor’s New Subpoena Power

        105.   On June 18, 2024, one day after Denver Labor issued its Final Notices to

 Provide Payroll Records, it issued three Subpoenas for Records, Documents, and/or

 Tangible Things (“First Subpoenas”), one to each of Diamond Cabaret, PT’s Showclub,

 and PT’s Showclub Centerfold.

        106.   The First Subpoenas were in fact the very first subpoenas the City issued

 to private employers following the passage of the Subpoena Powers Bill. In

 contravention of the DRMC, the subpoenas were issued not by the Auditor, but by

 Denver Labor.

        107.   The First Subpoenas requested, not “certified payroll records,” as arguably

 would have been permitted by DRMC § 58-2(c)(2) and § 58-4(c)(1) if issued by the

 Auditor, but instead, Denver Labor sought copies of all signed lease agreements with

 entertainers, records of all payments made from or to entertainers, contact information

 for all entertainers, an explanation and legal basis for the classification of entertainers,

 and tip pooling policies.


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        108.   In response to the First Subpoenas and to the Final Notices to Provide

 Payroll Records, Plaintiff Clubs explained comprehensively why entertainers are not

 employees or “workers” as defined by DRMC § 58-1(11).

        109.   Unlike the Plaintiff Clubs’ employees, entertainers manage and create

 their own schedules and choose where they want to perform via a third-party app called

 Pole Position, perform for tips directly from customers rather than wages from the

 Clubs, and pay a site rental fee in order to rent performance time and space at the

 Plaintiff Clubs’ locations.

        110.   Plaintiff Clubs’ responses put Denver Labor on notice that it was

 requesting information it did not have the legal or statutory authority to seek.

        111.   Plaintiff Clubs also reiterated that they were prohibited from violating the

 confidentiality clauses of their license agreements with entertainers.

        112.   Plaintiff Clubs’ efforts to narrow the scope of Denver Labor’s overreaching

 investigation to the confines of the law were ultimately in vain. Denver Labor ignored

 Plaintiff Clubs’ arguments about the entertainers’ contractual status as licensees,

 despite asking for this information in its First Subpoenas.

        113.   Denver Labor further dismissed the validity of the entertainers’ privacy and

 confidentiality interests by continuing to insist that Plaintiff Clubs turn over confidential

 information and records regarding entertainers, despite the contrary contractual

 obligations Plaintiff Clubs unequivocally owed the entertainers.




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 Denver Labor Illegally Imposes $1,000-per-day Fines Against Plaintiffs

        114.   On June 27, 2024, Denver Labor sent penalty determination letters to

 Diamond Cabaret, PT’s Showclub, and PT’s Showclub Centerfold (“First Penalty

 Determinations”).

        115.   The First Penalty Determinations imposed excessive and illegal $1,000-

 per-day fines on Diamond Cabaret, PT’s Showclub, and PT’s Showclub Centerfold,

 retroactively from June 22, 2024.

        116.   The First Penalty Determinations purported to impose these exorbitant

 $1,000-per-day fines pursuant to DRMC § 58-4(d)(1).

        117.   DRMC § 58-4(d)(1), however, authorizes the Auditor—not Denver Labor,

 and not a division of the Denver Auditor’s Office—to impose a daily penalty of up to

 $1,000 “for failure to furnish the auditor a complete and certified payroll pursuant to

 section 58-2(c)(2)(b) or for failure to comply with a subpoena issued pursuant to

 subsection (c).”

        118.   The First Penalty Determinations do not make clear whether the fines

 were imposed for “failure to furnish the auditor a complete and certified payroll record,”

 or for “failure to comply with a subpoena.”

        119.   In either event, the $1,000-per-day fines were not authorized because, as

 required by the express language of the DRMC, the Auditor did not request complete

 and certified payroll records from any of Plaintiff Clubs, nor did the Auditor issue any

 of Plaintiff Clubs a lawful subpoena.




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        120.   Diamond Cabaret, PT’s Showclub, and PT’s Showclub Centerfold timely

 submitted Petitions to Appeal the Penalty Determinations pursuant to the DRMC on July

 26, 2024, challenging Denver Labor’s egregious abuse of the Auditor’s powers.

 Denver Labor and Director Fritz-Mauer Hire Director Fritz-Mauer’s Former
 Employer to Serve as Denver Labor’s Hearing Officer

        121.   On July 9, 2024, Diamond Cabaret, PT’s Showclub, and PT’s Showclub

 Centerfold filed respective Motions to Quash [First] Subpoenas (“Motions to Quash First

 Subpoenas”) and requested that a Hearing Officer be appointed pursuant to DRMC §

 58-4(c)(2).

        122.   Plaintiff Clubs argued that the First Subpoenas were overly broad, unduly

 burdensome, requested information that did not exist, and sought the disclosure of

 confidential information. Plaintiff Clubs further argued that Denver Labor was not

 entitled to confidential documents entertainers who have negotiated their own legal

 contractual status and who are not covered by the DRMC and Denver Labor’s requests.

        123.   On July 11, 2024, in response to the Motions to Quash First Subpoenas, a

 Denver Assistant City Attorney representing Denver Labor contacted counsel for

 Plaintiff Clubs regarding the selection of a Hearing Officer.

        124.   The Denver Assistant City Attorney informed Plaintiff Clubs that the

 Hearing Officer whom Director Fritz-Mauer selected himself was his former supervisor

 and employer, Ellen Kelman.

        125.   Specifically, the Denver Assistant City Attorney informed Plaintiff Clubs

 that Fritz-Mauer worked for Hearing Officer Kelman at the Kelman Buescher Law Firm

 for nearly three years, immediately before he joined Denver Labor.

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        126.   The Kelman Buescher Law Firm is a small firm with fewer than five

 attorneys, and Hearing Officer Kelman, as a partner, supervised Fritz-Mauer directly.

        127.   Fritz-Mauer worked as Hearing Officer Kelman’s associate until October

 31, 2022, then remained on unpaid medical leave at the Kelman Buescher Law Firm

 through mid-December 2022. Director Fritz-Mauer began working at Denver Labor the

 very next month.

        128.   In other words, the Executive Director of Denver Labor hand-selected his

 most recent former boss to preside over the very first subpoena dispute in an

 investigation that he personally decided to initiate. The appearance of impartiality was

 clear and obvious.

        129.   Nonetheless, on July 12, 2024, Director Fritz-Mauer issued a work order

 requested Ellen Kelman to accept appointment as a hearing officer with respect to the

 Motions to Quash First Subpoenas. Ellen Kelman accepted the appointment the same

 day and did not make any of her own disclosures about her prior employment

 relationship with Director Fritz-Mauer.

        130.   Based on Director Fritz-Mauer’s long-term direct working relationship with

 Hearing Officer Kelman, Plaintiff Clubs were compelled to file a Motion for Recusal of

 Hearing Officer Ellen Kelman (“First Motion for Recusal”) on July 16, 2024.

        131.   The First Motion for Recusal requested Hearing Officer Kelman to recuse

 herself under Rule 6.5 of the Denver Auditor’s Office Rules of Procedure for Appeals

 and Hearings based on the appearance of partiality and the nature of the prior




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 relationship between the Director of Denver Labor and what was supposed to be a

 neutral and independent hearing officer.

        132.   In its response, Denver Labor admitted that Hearing Officer Kelman

 supervised Director Fritz-Mauer directly when he worked at her law firm, but argued that

 because the investigation into Plaintiff Clubs did not start until after Director Fritz-Mauer

 left Hearing Officer Kelman’s law firm, it would have been impossible for them to

 discuss the matter. Therefore, Denver Labor reasoned, Hearing Officer Kelman was

 not obligated to recuse herself.

        133.   In a declaration submitted in support of Denver Labor’s response, Director

 Fritz-Mauer stated: “I know Ellen Kelman. Ms. Kelman was one of my supervisors at

 Kelman Buescher. During my time working with her, we often disagreed on case

 strategy and legal analysis.”

        134.   Despite Director Fritz-Mauer’s attempt to minimize his prior relationship

 with Hearing Officer Kelman, his declaration emphasized the extent of their prior

 working relationship and revealed that Hearing Officer Kelman had direct input into his

 work and development.

        135.   Within mere hours of Denver Labor submitting its response, Hearing

 Officer Kelman denied the First Motion for Recusal. This would prove to be just the first

 of the 99.9% of rulings Hearing Officer Kelman made in favor of Denver Labor.

        136.   Hearing Officer Kelman somehow concluded that objectively, there was no

 appearance of impropriety in a situation where she directly, and recently, supervised the




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 Executive Director of one of the parties to a dispute she was called upon to decide as

 an impartial Hearing Officer.

        137.   Hearing Officer Kelman based her conclusion, in part, on her assumption

 that she would not need to assess Director Fritz-Mauer’s credibility in her role as

 Hearing Officer. This would turn out to be patently untrue.

 Hearing Officer Kelman does not Curb Denver Labor’s Overreaching Practices,
 and Instead Rubber-Stamps its Illegal Investigations

        138.   As Plaintiff Clubs contemplated what to do following Hearing Officer

 Kelman’s refusal to recuse herself, on August 9, 2024, Hearing Officer Kelman

 requested that Denver Labor and Diamond Cabaret, PT’s Showclub, and PT’s

 Showclub Centerfold attend a prehearing conference in advance of the hearing on the

 Motions to Quash First Subpoenas.

        139.   Director Fritz-Mauer attended this prehearing conference, which was

 intended for counsel as far as Plaintiff Clubs were aware, and Hearing Officer Kelman

 spoke to him directly about the issues rather than address the Assistant City Attorney

 who was present and representing Denver Labor.

        140.   Hearing Officer Kelman also consistently referred to Director Fritz-Mauer

 as “Matt,” further indicative of her familiarity with him and disregard for the appearance

 of impartiality and formalities of serving as a neutral and independent hearing officer.

        141.   At the prehearing conference, Hearing Officer Kelman sua sponte

 announced that based on the pleadings, she had concerns regarding Denver Labor’s

 legal authority to initiate the investigations and questioned whether she had the

 authority to hear the matter at all. Hearing Officer Kelman’s voluntary musings signaled

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 to Denver Labor the weaknesses in its case and afforded it a chance to cure its deficient

 arguments well in advance of the hearing, which Hearing Officer Kelman later

 determined Denver Labor had sufficiently cured.

        142.   In an email on August 13, 2024, Hearing Officer Kelman cemented the

 parameters of the upcoming August 22, 2024, hearing to two issues: (1) whether the

 argument regarding Denver Labor’s authority was properly before her, and (2) if it was,

 whether Denver Labor had the authority to initiate its investigations and issue the First

 Subpoenas.

        143.   Denver Labor submitted two exhibits prior to the hearing: (1) Declaration

 of Matthew Fritz-Mauer in Support of Denver Labor’s Legal Authority to Conduct The

 Present Investigations Under D.R.M.C. § 58-3 (“Fritz-Mauer Declaration”); and (2) Erin

 Mulvaney and Andrew Wallender, Strippers Winning Employee Status Challenges Gig

 Economy’s Norms, Daily Labor Report, Oct. 21, 2019 (“2019 Daily Labor Report”).

        144.   The Fritz-Mauer Declaration placed Director Fritz-Mauer’s credibility at the

 forefront of the Plaintiff Clubs’ dispute with Denver Labor, despite Hearing Officer

 Kelman’s previous reliance on her assertion that his credibility would not be at issue in

 the case in an attempt to justify her failure to recuse herself.

        145.   The Fritz-Mauer Declaration read as though laying the foundation for

 expert testimony, highlighting his accolades and portraying his academic and personal

 experience as authoritative justification for initiating Denver Labor’s investigations.




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        146.   Indeed, the Fritz-Mauer Declaration made it clear that he initiated the

 investigations into the Clubs not based on any data collected or received by the City,

 but on his own personal beliefs and past experiences in other locations.

        147.   The Fritz-Mauer Declaration unequivocally did not provide legal

 justification for Denver Labor’s investigation into Plaintiff Clubs in the absence of a

 formal complaint as required by the DRMC. Instead, it referenced a chance encounter

 with an anonymous woman who identified herself as a stripper during a conversation

 with Director Fritz-Mauer in Spring 2023. Director Fritz-Mauer admitted he was unable

 to contact this woman again and had no information about where she worked.

 Nevertheless, he cited this encounter as the event that prompted his decision to initiate

 the investigations into Plaintiff Clubs, despite later stating that his plans to target adult

 entertainment clubs started in the first three months of 2023.

        148.   The submission of the 2019 Daily Labor Report was even more confusing.

 The Daily Labor Report is a 2019 article that discusses exotic dancers and Fair Labor

 Standards Act lawsuits, focusing on individuals in California, Georgia, and New York, as

 well as cases in the Third, Fourth, Fifth, and Ninth Circuits—not in the past five years,

 not in Colorado, and certainly not in Denver.

        149.   Denver Labor outright failed to submit persuasive evidence that it had the

 authority to initiate its investigations and demand Plaintiff Clubs’ records pursuant to

 DRMC §§ 58-3 and 58-4. Any reasonable, impartial, and independent Hearing Officer

 would have found as much and would have disregarded the self-serving statement of

 the very person who offered it to justify his own initiation of an unauthorized


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 investigation. Further, the Hearing Officer completely ignored the fact that the purported

 declaration was neither signed nor sworn under oath.

        150.   But at the August 22, 2024, hearing on the Motions to Quash First

 Subpoenas, Hearing Officer Kelman took a different approach. During the course of the

 hearing, Hearing Officer Kelman sua sponte suggested to Denver Labor that it move to

 modify the First Subpoenas, made her own legal arguments to disregard Plaintiff Clubs’

 confidentiality agreements with entertainers, and expanded the scope of issues argued

 at the hearing without giving Plaintiff Clubs fair notice or an opportunity to meaningfully

 respond.

        151.   On August 28, 2024, smartly taking the obvious cues from Hearing Officer

 Kelman and adopting her comments and arguments offered during the hearing as its

 own, Denver Labor made a formal motion to modify the First Subpoenas.

        152.   On September 3, 2024, Hearing Officer Kelman issued her Order denying

 the Motions to Quash First Subpoenas.

        153.   Hearing Officer Kelman’s Order concluded that Denver Labor did indeed

 have the authority to initiate its investigations into Plaintiff Clubs, despite her comments

 at the prehearing conference. Hearing Officer Kelman made a point to minimize her

 clear bias in favor of Director Fritz-Mauer by stating that her decision was not based

 solely on his unsworn self-serving declaration, but because the 2019 Daily Report

 article supported his unsworn declaration.

        154.   Confusingly, Hearing Officer Kelman reasoned that the 2019 Daily Report

 article was not too old to support an investigation initiated by Director Fritz-Mauer in


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 2023, despite the article’s lack of connection to the parties, subject matter, law,

 ordinances, and jurisdiction.

        155.   In denying the Motions to Quash First Subpoenas based on two clearly

 problematic and unpersuasive pieces of “evidence,” Hearing Officer Kelman rubber-

 stamped Denver Labor’s improper use of the Auditor’s limited authority under Chapter

 58 of the DRMC.

 Denver Labor Expands its Investigations into the other Plaintiffs

        156.   On July 8, 2024, Denver Labor expanded its investigation into Rick’s

 Cabaret, requesting documents including workers’ contact information, scheduling

 information, wage and tax records, and documentation on tip pooling policies going

 back to July 8, 2021.

        157.   Just like its investigation into the others, Denver Labor’s investigation into

 Rick’s Cabaret was similarly unlawfully initiated by Director Fritz-Mauer.

        158.   On August 14, 2024, Rick’s Cabaret submitted responsive documentation

 for its employees.

        159.   On August 15, 2024, Denver Labor issued an “Incomplete Response to

 Request for Records” letter, requesting information regarding entertainers.

        160.   On the same day, Denver Labor issued its first Subpoena for Records,

 Documents, and/or Tangible Things to Rick’s Cabaret (“Rick’s Cabaret First Subpoena”)

 requesting nearly identical information it sought from the other three clubs – copies of all

 signed lease agreements with entertainers, records of all payments made from or to




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 entertainers, contact information for all entertainers, an explanation and legal basis for

 the classification of entertainers, and tip pooling policies.

        161.   On August 30, 2024, Rick’s Cabaret timely filed its Motion to Quash First

 Subpoena, which was then mooted on September 3, 2024, when Denver Labor

 withdrew the Rick’s Cabaret First Subpoena after Hearing Officer Kelman issued her

 Order regarding the other three clubs.

        162.   Also on September 3, 2024, Denver Labor issued “modified” Subpoenas

 for Records, Documents, and/or Tangible Things to Diamond Cabaret, PT’s Showclub,

 PT’s Showclub Centerfold, and Rick’s Cabaret (“Modified Subpoenas”).

        163.   Plaintiff Clubs filed timely Motions to Quash the Modified Subpoenas on

 September 24, 2024.

        164.   That same day, nearly two months after Diamond Cabaret, PT’s

 Showclub, and PT’s Showclub Centerfold filed their Petitions to Appeal the First Penalty

 Determinations – after securing the first favorable ruling from Hearing Office Kelman

 other than her refusal to recuse herself – Director Fritz-Mauer issued a work order for

 Hearing Officer Kelman to next handle Plaintiff Clubs’ appeals of the First Penalty

 Determinations.

        165.   Director Fritz-Mauer then, not surprisingly, hand-selected Hearing Officer

 Kelman to handle Plaintiff Clubs’ Motions to Quash the Modified Subpoenas.

        166.   On October 11, 2024, Plaintiff Clubs submitted new Motions for Recusal of

 Hearing Officer Ellen Kelman in re Petitions to Appeal Penalty Determinations, again

 based on her prior working relationship with Director Fritz-Mauer but further bolstered


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 by her clearly biased behavior toward, and sua sponte suggestions and arguments in

 favor of, Denver Labor during the prior proceedings with Plaintiff Clubs.

       167.   Hearing Officer Kelman summarily refused to recuse herself in an order

 denying the Motion for Recusal on October 23, 2024 in which she accused Plaintiff

 Clubs of making “derogatory” characterizations regarding her appointment and in which

 creates statements of authority out of whole cloth, such as “Denver Labor is the

 enforcement arm of the auditor’s office for D.R.M.C § 58” and “Dr. Fritz-Mauer, as

 Executive Director of that office, appoints hearing officers.” Neither of these statements

 have any basis in the DRMC or the City Charter.

       168.   Emboldened by his former boss’ approval of Denver Labor’s unauthorized

 use of the Auditor’s limited subpoena power, Director Fritz-Mauer expanded his

 crusade against Plaintiffs even further beyond the bounds of the DRMC.

       169.   On September 9, 2024, Denver Labor issued a subpoena to IndyWork,

 Inc. dba Pole Position (“Pole Position”). Pole Position is a developer of an app that

 works as a digital bulletin board to connect entertainers with adult entertainment clubs

 such as Plaintiff Clubs. Diamond Cabaret uses Pole Position to connect with

 entertainers, which Director Fritz-Mauer knew.

       170.   Pole Position is a third-party app that does not employ entertainers, which

 Director Fritz-Mauer also knew and, indeed, explicitly acknowledged to Pole Position’s

 creator in prior correspondence.

       171.   Chapter 58 of the DRMC only authorizes the Auditor to subpoena

 records that are in the custody of an employer. See DRMC § 58-4(c).


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        172.    Nonetheless, in Denver Labor’s subpoena to Pole Position, it requested

 any and all information, including schedules, timecards, and contact information, for all

 entertainers who “worked at Diamond Cabaret.”

        173.    Not only was Denver Labor’s subpoena to Pole Position, like its

 subpoenas and modified subpoenas to Plaintiff Clubs, unauthorized because it was not

 issued by the Auditor, but it was also unauthorized because it was issued to a non-

 employer third party. Chapter 58 of the DRMC unequivocally does not give the Auditor,

 let alone Denver Labor, the power to issue third-party subpoenas.

        174.    Director Fritz-Mauer knew this but intentionally disregarded the law in his

 attempt to gather confidential information from Diamond Cabaret through a backdoor

 channel.

        175.    After both Pole Position and Diamond Cabaret filed respective motions to

 quash the subpoena issued to Pole Position, Director Fritz-Mauer voluntarily withdrew it,

 signaling that he indeed knew it was an entirely unauthorized abuse of government

 power to issue it in the first place.

        176.    Over the ensuing weeks, Denver Labor and Director Fritz-Mauer began

 inundating Plaintiff Clubs with an endless barrage of weekly emails, additional

 information requests, letters opening “new” investigations, follow up requests,

 investigations into individual managers, unfounded accusations of retaliation for nearly

 every regular business decision made by Diamond Cabaret and Rick’s Cabaret, and

 multiple additional penalty determinations.




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        177.   All told, as of the filing of this Complaint, Denver Labor and/or Defendant

 Fritz-Mauer have sent counsel for Plaintiffs over 121 separate written communications

 in relation to its investigations into Plaintiffs. Of the 121 communications, 80 of those

 came after the issuance of Hearing Officer Kelman’s Order denying the Motions to

 Quash First Subpoenas on September 3, 2024.

        178.   Nearly all of the communications that demanded additional information

 consisted of multiple subparts and asked for information and records far beyond the

 scope of what even the Auditor is authorized to request under the DRMC.

        179.   Nearly all of the communications that demanded a response imposed

 arbitrary and overlapping deadlines for Plaintiffs to gather and produce documents,

 answer dozens of interrogatory-form questions, and otherwise provide all manner of

 confidential and/or irrelevant information to Denver Labor, blatantly designed as fishing

 expeditions and probing into matters that having no rational relation to any provision of

 Chapter 58 of the DRMC.

        180.   Plaintiffs complied with the very small number of Denver Labor’s requests

 that appeared somewhat authorized under the DRMC, despite none of them coming

 from the Auditor, while maintaining their vehement objections to the legality of the

 requests.

        181.   Plaintiffs, however, steadfastly maintained their position that Denver Labor

 was not entitled to confidential entertainer information. Nearly every response Plaintiffs

 sent to Denver Labor was met with an immediate follow-up communication that sought

 even more information and imposed an even shorter arbitrary deadline to provide it.


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        182.   On November 15, 2024, in violation of the administrative stay under the

 DRMC because of Plaintiff Clubs’ pending internal appeals with Denver Labor, Dever

 Labor issued an excessive, unauthorized, and duplicative Penalty Determination to

 Rick’s Cabaret.

        183.   On December 10, 2024, Denver Labor issued four additional excessive,

 unauthorized, and duplicative Penalty Determinations against all four Plaintiff Clubs,

 including Rick’s Cabaret, again in violation of the administrative stay under the DRMC.

        184.   On January 3, 2025, Denver Labor expanded its overreach even further

 when it initiated an investigation into Mr. Duerbusch, the General Manager of Diamond

 Cabaret, attempting to establish individual liability for Mr. Duerbusch in two of its

 investigations.

        185.   Between January 10 and January 20, 2025, Denver Labor issued three

 more entirely unsupported penalty determinations against Diamond Cabaret and Mr.

 Duerbusch for purported retaliation against two bartenders and one entertainer.

        186.   In the penalty determination regarding the entertainer, the allegation was

 that Mr. Duerbusch took a $10 tip meant for her. The ten dollars, however, was

 intended for Mr. Duerbusch, and there was no credible evidence to the contrary.

 Despite this, Denver Labor imposed fines and penalties against Diamond Cabaret and

 Mr. Duerbusch for this $10 dispute of up to $8,040.11, with $40.11 payable to the

 entertainer, and $8,000 going directly into Denver Labor’s coffers.

        187.   In the penalty determinations related to the bartenders, Denver Labor

 erroneously found that the bartender who was laid off due to lack of work, and the other


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 who was terminated because of multiple coworker complaints about her disruptive

 behavior in addition to her multiple alcohol-serving policy violations, were terminated in

 retaliation for talking to Denver Labor. None of these unfounded conclusions, which led

 to even more excessive penalties and fines mostly payable to Denver Labor, were

 supported by evidence or provided any semblance of due process to Diamond Cabaret

 and Mr. Duerbusch.

         188.   The entertainer and bartender penalty determinations have each been

 administratively appealed pursuant to DRMC § 58-5(a).

 Hearing Officer Kelman Upholds Denver Labor’s Unauthorized First Penalty
 Determinations after a Sham “Hearing”

         189.   Diamond Cabaret, PT’s Showclub, and PT’s Showclub Centerfold’s

 petitions to appeal the First Penalty Determinations, filed on July 26, 2024, were set for

 a two-day evidentiary hearing before Hearing Officer Kelman to begin on January 22,

 2025.

         190.   On January 3, 2025, Diamond Cabaret, PT’s Showclub, and PT’s

 Showclub Centerfold submitted their Motion in Limine, challenging the relevance of

 dozens of Denver Labor’s exhibits, which included information and evidence created

 after the First Penalty Determinations.

         191.   On January 6, 2025, Denver Labor submitted its Motion to Strike

 Testimony of Auditor Timothy O'Brien, who Diamond Cabaret, PT’s Showclub, and PT’s

 Showclub Centerfold identified as a witness in their witness list.

         192.   Hearing Officer Kelman denied the Clubs’ Motion in Limine on January 15,

 2025.

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        193.      Hearing Officer Kelman also denied Denver Labor’s Motion to Strike the

 testimony of the Auditor but substantially and substantively limited his testimony,

 thereby restricting critical testimony and arguments that Diamond Cabaret, PT’s

 Showclub, and PT’s Showclub Centerfold intended to use to prove Denver Labor’s lack

 of authority and its overreach.

        194.      Diamond Cabaret, PT’s Showclub, and PT’s Showclub Centerfold were

 prepared for a two-day evidentiary hearing on January 22 and 23, to present their

 appeal of the First Penalty Determinations. However, at the outset of the hearing,

 Hearing Officer Kelman made unreasoned rulings, contrary to Denver Labor’s own

 procedures for Hearing and Appeals, that severely limited Plaintiff Clubs’ ability to

 present their arguments, including prohibiting preserved arguments related to Denver

 Labor’s complete lack of statutory authority to issue the penalties.

        195.      The Clubs’ Petitions to Appeal the Penalty Determinations explicitly stated

 the following:

           The Petition does not set forth the sole and complete substance of the
           Company’s arguments on appeal. Pursuant to D.R.M.C. § 58-5(a),
           and Denver Labor’s Rules of Procedure for Appeals and Hearings
           4.5, this Petition is a short and plain statement and is not
           intended to be exhaustive. The Company reserves the right to make
           such additional and further arguments on appeal as the facts and law
           allow.

        196.      At no time did Denver Labor contest this reservation of rights.

 Notwithstanding this clear reservation of rights which was never challenged or objected

 to by Denver Labor, Hearing Officer Kelman sua sponte ruled that Plaintiff Clubs waived




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 their argument regarding whether Denver Labor had statutory authority to issue the

 penalties.

        197.   The Hearing Officer wrongly stated that because the argument that only

 the Auditor was authorized under the DRMC to issue penalties was not expressly set

 forth in Plaintiff Clubs’ short and plain non-exhaustive petitions to appeal, it was waived.

 This ruling was arbitrary and capricious and violated Plaintiff Clubs’ due process and

 Constitutional rights and privileges.

        198.   Hearing Officer Kelman continued to take actions and conduct herself in a

 manner that undermined the entire legitimacy and legality of the “hearing.”

        199.   For example, during the hearing, Plaintiff Clubs requested an order for

 sequestration of nonparty witnesses, which was expressly permitted by Denver Labor’s

 own Rules of Procedure for Appeals and Hearings, because many of Denver Labor’s

 witnesses were attending the hearing online.

        200.   Hearing Officer Kelman summarily denied the sequestration request,

 stating that just requesting sequestration of witnesses “improperly presume[s] that

 witnesses are going to lie.” This ruling ignored the well-established purpose of

 sequestration: to ensure independent testimony and prevent undue influence.

        201.   During the hearing, the Auditor testified and admitted that he never

 requested certified payroll records, in contravention of the DRMC.

        202.   The Auditor further testified that Denver Labor’s penalties were imposed

 without his review or approval, contrary to the requirements under the DRMC.




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        203.   The Auditor’s testimony was cut off and limited by Hearing Officer Kelman,

 who sustained objections on the relevance of Denver Labor’s legal authority, effectively

 suppressing critical relevant testimony from the Auditor on the basic functions of his

 position as Auditor and his authority (and lack thereof) to delegate his authority to

 Denver Labor.

        204.   Director Fritz-Mauer testified regarding the definition and requirements of

 certified payroll records, revealing significant and critical gaps in Denver Labor’s

 compliance with the DRMC in initiating the investigations, making document requests,

 and ultimately in issuing the excessive penalties that were the very subject of the appeal

 “hearing.”

        205.   Director Fritz-Mauer ’s testimony confirmed that:

               a.     Neither the Auditor nor Denver Labor formally requested “certified

                      payroll records” before issuing penalties;

               b.     Plaintiff Clubs were not informed that failure to produce specific

                      “certified payroll records” would result in penalties; and

               c.     The penalties issued against Plaintiff Clubs were based on Denver

                      Labor’s assumption that unspecified records should have been

                      provided, even though there was no formal demand under DRMC §

                      58-4(d)(1).

        206.   When asked whether Denver Labor ever defined “certified payroll records”

 in any of its written requests to Plaintiff Clubs, Director Fritz-Mauer was unable to

 provide any documentary evidence showing that Denver Labor had properly


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 communicated its requirements before excessively and illegally penalizing Plaintiff

 Clubs to the tune of thousands of dollars.

       207.   Director Fritz-Mauer’s testimony exposed a fatal procedural flaw in Denver

 Labor’s penalty determinations, as the DRMC only authorizes penalties for an

 employer’s failure to provide properly requested certified payroll records by the

 Auditor—a step that Denver Labor failed to take.

       208.   Plaintiff Clubs’ argument at the hearing emphasized that:

              a.     Without a clear and specific request for certified payroll records by

                     the Auditor, no penalty could lawfully be imposed;

              b.     The DRMC does not permit Denver Labor to issue penalties for

                     failing to provide unspecified payroll records that do not meet the

                     statutory definition of certified payroll records;

              c.     Denver Labor’s actions amounted to a violation of due process, as

                     Plaintiffs were penalized without adequate notice or a meaningful

                     opportunity to comply with a proper request; and

              d.     Entertainer logins and contracts are not “certified payroll records,”

                     under the DRMC.

       209.   Throughout the testimony of both the Auditor and Director Fritz-Mauer,

 Hearing Officer Kelman repeatedly interrupted testimony, interrupted counsel’s

 questions, made her own legal arguments to bolster Denver Labor’s objections, and

 even asserted her own objections to Plaintiff Clubs’ counsel’s questions to the

 witnesses.


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       210.   Plaintiff Clubs’ counsel made an opening statement and called two

 witnesses to present their appeal.

       211.   Denver Labor’s counsel made no opening remarks and did not ask a

 single question of either of Plaintiff Clubs’ witnesses. They offered zero evidence at the

 hearing. Despite this, at the close of Plaintiff Clubs’ presentation of evidence, Denver

 Labor moved for a directed verdict but later represented that it was meant to be a

 motion for judgment as a matter of law (“JMOL”).

       212.   Unlike a request for sequestration, neither a directed verdict nor a JMOL is

 authorized under Denver Labor’s Rules of Procedure for Appeals and Hearings.

       213.   To this additional unauthorized act by Denver Labor, Plaintiff Clubs

 objected to the improper motion, arguing that they had presented sufficient evidence to

 demonstrate Denver Labor’s lack of statutory authority to impose the penalties, and that

 there were genuine factual disputes requiring resolution after post-hearing briefing.

       214.   Despite the fatal admissions from Director Fritz-Mauer during the hearing

 regarding his lack of authority and compliance with the DRMC, Hearing Officer Kelman

 granted Denver Labor’s JMOL in a verbal order, thereby precluding further evidentiary

 review of these deficiencies and allowing the excessive and unconstitutional takings in

 the form of penalties to stand, despite the complete absence of a lawful basis under the

 DRMC.

       215.   Hearing Office Kelman’s verbal ruling ignored:




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                a.    The fact that material factual disputes remained regarding the legal

                      classification of entertainers and the legality of Denver Labor’s

                      requests for documents other than certified payroll records;

                b.    The due process concerns raised by denying Plaintiff Clubs the

                      ability to challenge Denver Labor’s statutory authority to issue

                      penalties; and

                c.    The procedural irregularities in Denver Labor’s investigatory

                      process, including its failure to comply with DRMC’s explicit

                      requirements for initiating wage investigations.

        216.    Prior to granting Denver Labor’s JMOL motion, Hearing Officer Kelman

 requested to hear from Plaintiff Clubs, who objected to the procedurally improper motion

 and requested post-hearing briefing as expressly contemplated by Denver Labor’s

 Rules of Procedure for Appeals and Hearings, unlike a JMOL motion.

        217.    Hearing Officer Kelman granted Denver Labor’s JMOL after preventing

 Plaintiff Clubs to present their arguments on appeal and improperly restricting and

 directing witness testimony.

 Denver Labor’s Emboldened Harassment and Unlawful Overreach

        218.    After the sham hearing, Denver Labor immediately commenced its

 harassment campaign, this time targeting other individuals, RCI, and Big Sky as well as

 Plaintiff Clubs.

        219.    The next day after the hearing, Director Fritz-Mauer sent two new

 demands for information to Diamond Cabaret and Rick’s Cabaret for information to


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 which Denver Labor is not entitled, specifically regarding bank accounts and financial

 information, contracts between affiliated entities, and other proprietary, private,

 confidential, and irrelevant information. Denver Labor closes its request with threats

 that it intends to impose adverse inferences and fines. The requests are entirely

 unauthorized under Chapter 58 of the DRMC.

        220.   On February 3, 2025, Denver Labor sent further demands for information

 regarding an employee retaliation complaint that was fabricated by Denver Labor and

 falsely represented by Denver Labor as being employee-initiated.

        221.   On February 5, 2025, Denver Labor sent an additional request for

 information demanding responses to interrogatory-style questions about Rick’s

 Cabaret’s alleged internal portal and IT services and the existence of any and all written

 policies no matter the subject matter or topic. Denver Labor closes its request with

 threats that it intends to impose adverse inferences and fines for failure to provide the

 requested information. The requests are entirely unauthorized under Chapter 58 of the

 DRMC.

        222.   On February 6, 2025, Denver Labor sent an additional request for

 information regarding Diamond Cabaret’s IT providers, onsite ATM ownership, audio,

 sound, and lighting installers, and targeting other individuals who work at Plaintiff Clubs.

 Denver Labor closes its request with threats that it intends to impose harmful

 inferences.

        223.   On February 12, 2025, Denver Labor sent an additional request for

 information regarding Rick’s Cabaret’s IT providers, onsite ATM ownership, audio,


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 sound, and lighting installers, and targeting other individuals who work at Plaintiff Clubs.

 Denver Labor closes its request with threats that it intends to impose harmful

 inferences.

 Denver Labor Resorts to Creating Fraudulent Calculations to Punish Plaintiffs for
 Requiring Denver Labor’s Compliance with the Law

        224.   On February 26, 2025, Denver Labor issued a press release and

 published on its website penalty determinations against Diamond Cabaret and Rick’s

 Cabaret and claimed publicly that “Diamond Cabaret and Rick’s Cabaret strip clubs

 have engaged in widespread wage theft harming its entertainers, bartenders, servers,

 and other workers.” This statement is unequivocally false.

        225.   Denver Labor published these penalty determinations to the public and

 had already published online videos and media statements prior to providing them to

 Plaintiff Clubs’ counsel, effectively depriving the affected businesses of any meaningful

 opportunity to respond before the media and public were misled by Denver Labor’s

 distorted and demonstrably false narrative.

        226.   Adding to this gross abuse of power, Denver Labor’s February 26, 2025

 penalty determinations included four spreadsheets that erroneously assessed millions

 of dollars in penalties—errors so blatant and pervasive that they cannot be dismissed as

 mere mistakes. The most egregious among them was Denver Labor’s complete failure

 to account for employees’ earned tips and overtime payments, resulting in a wildly

 inflated and fraudulent assessment of purported “wage theft.”

        227.   Beyond these fundamental miscalculations, Denver Labor’s spreadsheets

 contained duplicate entries, incorrect pay periods, and inconsistent applications of

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 formulas—further distorting the figures to manufacture an exaggerated claim of

 wrongdoing. Without question, additional errors will be uncovered upon further

 examination, as Denver Labor’s slipshod approach to enforcement continues to unravel.

        228.   But its fraudulent tactics did not stop at mere omission. The spreadsheets

 included hundreds of duplicate entries—listing the same employees, for the same pay

 periods, with the same hours multiple times—artificially inflating the alleged “restitution

 owed” and falsely justifying its draconian $11 million penalty assessment. This is not an

 administrative misstep; it is willful and intentional government misconduct that demands

 immediate judicial intervention.

        229.   Upon careful review of Denver Labor’s so-called “wage theft”

 spreadsheets—documents it used to justify its arbitrary and punitive penalty

 determinations—there is undeniable evidence of fraudulent misrepresentations. These

 spreadsheets omit actual wages paid to employees, despite the fact that historical

 payroll records reflecting these payments were produced and provided to Denver Labor

 during its prior inquiries. This was not a clerical oversight—it was a deliberate and

 calculated deception designed to paint an entirely false picture of the businesses.

        230.   While Plaintiff Clubs do not intend to become bogged down in the

 technical errors of Denver Labor’s fabricated data, the fact that it has issued public

 press releases and imposed crippling penalties under color of law based on knowingly

 falsified calculations is powerful evidence of the necessity of an immediate injunction

 against Denver Labor’s continued and incessant abuse of governmental power.




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        231.   Denver Labor’s pattern of harassment and deception, combined with its

 unlawful demands for confidential business records and unauthorized disclosures of

 private entertainer information, necessitates urgent judicial relief.

        232.   One entertainer at the center of this dispute has falsely claimed to be

 owed minimum wage, despite the fact that she regularly earns over $1,000 in cash tips

 directly from clients in a single eight-hour shift. Her deceptive public statements have

 only served to escalate this issue, jeopardizing the livelihoods of other entertainers and

 creating the perfect pretext for Denver Labor to interfere in their professional

 autonomy. These malicious actions, based on a foundation of lies, are putting

 countless entertainers at risk of unwanted government intervention in their chosen

 profession.

        233.   Denver Labor has falsely accused managers at Diamond Cabaret and

 Rick’s Cabaret of “stealing” tips from entertainers and employees. This claim is

 unequivocally untrue. Managers and supervisors are legally prohibited from taking any

 portion of their employees’ tips, and they cannot receive tips from a tip pool or directly

 from customers unless they are performing a separate tipped job, where they are solely

 responsible for the service provided and not acting in a managerial capacity at that time.

 In reality, when a manager at Diamond Cabaret or Rick's works as a VIP Host, they are

 not acting as a “manager” during that period. They are directly interacting with clients,

 handling transactions, and providing an option for clients to tip the VIP Host. Rather

 than “stealing” tips, these managers are doing the opposite. They voluntarily share a

 portion of the tips they receive as VIP Hosts with the rest of the staff, which is entirely


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 lawful and consistent with proper tipping practices. Denver Labor’s false and

 misleading claims have created unnecessary confusion and harmed the reputation and

 operations of these businesses.

       234.   The Auditor, the Auditor’s Office, Denver Labor, and Director Fritz-Mauer

 each together and separately, published or caused to be published the following

 statements in the same or substantially similar words:

              a.     “Denver Labor finds millions in wage theft at strip clubs.”

              b.     “Diamond Cabaret and Rick’s Cabaret strip clubs have engaged in

                     widespread wage theft harming its entertainers, bartenders,

                     servers, and other workers.”

              c.     “This is an extraordinary case and unlike any other my office has

                     conducted, due to the exorbitant amount of wages stolen, the strip

                     clubs’ overbearing employee rules, and their refusals to comply

                     with our lawful investigations.”

              d.     “Diamond Cabaret and Rick’s Cabaret misclassified entertainers

                     (also called strippers or dancers) as exempt from wage and hour

                     laws.”

              e.     “This misclassification led to wage theft, including rampant

                     minimum wage violations, as the strip clubs were not paying them

                     for their work.”

              f.     “Other tipped workers such as bartenders, servers, and barbacks

                     had wages stolen.”


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               g.     “Managers routinely took tips for work performed by tipped workers

                      and entertainers.”

               h.     “During our investigations, Diamond Cabaret destroyed these

                      forms, even though workers provided proof the documents exist.”

               i.     “Together, these clubs must pay $11,358,000 in restitution to more

                      than 230 affected workers, which includes unpaid wages and stolen

                      tips.”

               j.     “That amount was reached due to the $2.6 million in actual wages

                      stolen . . . .”

        235.   These statements have caused, and continue to cause the Plaintiffs actual

 damage.

        236.   The substance or gist of the statements was false at the time they were

 published and continue to be false.

        237.   At the time of publication, the Auditor, the Auditor’s Office, Denver Labor,

 and Director Fritz-Mauer knew that the statements were false or the Auditor, the

 Auditor’s Office, Denver Labor, and Director Fritz-Mauer each together and separately,

 made the statements with reckless disregard as to whether they were false.

        238.   Accordingly, Denver Labor must be immediately enjoined from any further

 enforcement actions based on these fraudulent assessments, and a gag order must be

 imposed to prevent further dissemination of these falsehoods. If left unchecked, Denver

 Labor’s reckless abuse of power and disregard for the limits of statutory authority will




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 not only cripple the businesses it targets but will also set a catastrophic precedent that

 jeopardizes every business, worker, and entrepreneur in Denver.

 The Consequence of Allowing Denver Labor’s Unchecked Overreach is a
 Dismantling of the Denver Economy

        239.   If Denver Labor’s actions are allowed to continue unchecked, every

 business, individual, and worker in Denver will be exposed to the threat of having their

 private, personal, and confidential information seized without consent. The stakes are

 even higher for licensee entertainers who are protected by strict confidentiality clauses

 in their contracts with Plaintiff Clubs. These confidentiality provisions were explicitly

 designed to protect the private information of entertainers, many of whom work other

 full-time day jobs, and are mothers, sisters, lawyers, or even government employees.

        240.   Denver Labor’s attempt to strip away these protections and force these

 individuals to disclose sensitive personal data—including work locations, hours, tips,

 and more—represents a gross violation of their rights and directly impacts their safety.

        241.   Denver Labor’s flagrant disregard for confidentiality is exemplified by

 Executive Director Fritz-Mauer’s reckless disclosure of entertainer’s real names during

 the January 22, 2025, publicly streamed First Penalty Determination appeal hearing.

        242.   This public release of confidential information represents a profound

 betrayal of trust and a direct violation of the legal protections in place to safeguard the

 identities of these entertainers. It exposes these individuals to public scrutiny and

 potential threats to their safety, demonstrating the complete disregard Denver Labor has

 for the autonomy and anonymity these entertainers require and deserve.



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                                     CLAIMS FOR RELIEF

                               FIRST CLAIM FOR RELIEF
                  Fourteenth Amendment Due Process Property Interest
                                    42 U.S.C. § 1983
                                 (Against All Defendants)

        243.     Plaintiffs incorporate all other paragraphs of this Complaint as if fully set

 forth herein.

        244.     At all times relevant hereto, Defendants were acting under color of law.

        245.     Plaintiffs and Defendants are “persons” under 42 U.S.C. § 1983.

        246.     The Fourteenth Amendment to the United States Constitution provides

 that no person acting under color of law may deprive any citizen of the United States or

 other person within the jurisdiction of the United States, of life, liberty, or property

 without due process of law. Section 25 of Article II of the Colorado Constitution

 provides similar guarantees and protections.

        247.     Plaintiffs were deprived of their property without due process of law.

        248.     Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs when Denver Labor and Director Fritz-Mauer initiated unauthorized

 investigations into Plaintiffs.

        249.     Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs when Denver Labor and Director Fritz-Mauer initially concealed the nature of

 their targeted and unauthorized investigations into Plaintiffs.

        250.     Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by allowing Denver Labor to issue document and information requests outside

 the bounds of the Auditor’s statutory authority.

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        251.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by allowing Denver Labor to issue subpoenas outside the bounds of the

 Auditor’s statutory authority.

        252.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by allowing Denver Labor to apply adverse and harmful inferences against

 Plaintiffs for lawfully objecting to unlawful investigations and documents and information

 requests.

        253.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by allowing Denver Labor to make unauthorized conclusions of law and facts,

 including unsupported legal determinations about entertainers’ misclassification and tip

 pooling, to issue penalty determinations and impose excessive penalties and fines.

        254.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by allowing Denver Labor to issue penalty determinations and impose

 penalties and fines without a reasonable basis in law.

        255.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by allowing Denver Labor to issue penalty determinations and impose adverse

 and harmful inferences, and penalties and fines based on false statements.

        256.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by allowing Denver Labor to impose adverse and harmful inferences, and

 penalties and fines against Plaintiffs before providing any right to a hearing.




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        257.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by failing to adhere to any published or disclosed procedures and safeguards

 for hearing officer qualifications and selection.

        258.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by allowing Denver Labor and Director Fritz-Mauer to assign his former boss,

 Hearing Officer Kelman, as the hearing officer to decide all disputes between Denver

 Labor and Plaintiffs.

        259.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by failing to provide Plaintiffs a meaningful opportunity to present evidence in

 front of a neutral decisionmaker on its motions to quash subpoenas and modified

 subpoenas.

        260.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by failing to provide Plaintiffs a meaningful opportunity to present evidence in

 front of a neutral decisionmaker in any of its appeals of unlawful penalty determinations,

 monetary penalties and fines.

        261.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs when Hearing Officer Kelman failed to serve as a neutral decisionmaker and

 apply the applicable laws as written.

        262.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs when Hearing Officer Kelman failed afford Plaintiffs with fair and impartial

 hearings and rulings.




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           263.   Acting under color of law, Defendants intentionally violated Plaintiffs’

 constitutional rights under the Due Process clause of the Fourteenth Amendment to the

 United States Constitution, by purposefully depriving Plaintiffs of their property interests

 when they imposed adverse and harmful inferences, issued penalty determinations,

 exorbitant fines, and excessive penalties without legal basis or authority, and did not

 allow Plaintiffs a meaningful opportunity to be heard in front of any neutral

 decisionmaker.

           264.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by allowing Denver Labor to enforce arbitrary rules and procedures created in

 violation of required rulemaking procedures.

           265.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by failing to promulgate its internal Rules of Procedure for Appeals and

 Hearings without participating in proper rule making procedures pursuant to DRMC § 2-

 91 through 2-100.

           266.   Defendants failed to provide constitutionally sufficient due process to

 Plaintiffs by failing to promulgate its internal Civil Wage Theft Rules without participating

 in proper rule making procedures DRMC § 2-91 through 2-100.

           267.   Defendants engaged in the above conduct intentionally, knowingly,

 willfully, wantonly, maliciously, and in reckless disregard of Plaintiffs’ constitutional

 rights.

           268.   Defendants failed to intervene to prevent other Defendants from violating

 Plaintiffs’ due process rights under the Fourteenth Amendment.


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           269.   Defendants participated or authorized the actions that violated Plaintiffs’

 rights.

           270.   As a direct, foreseeable, and proximate result of the intentional unlawful

 conduct complained of herein, Plaintiffs suffered injuries, damages, and other losses,

 including but not limited to fines, penalties, and damage to Plaintiffs’ reputations. These

 injuries, damages, and other losses are ongoing.

                               SECOND CLAIM FOR RELIEF
                        Failure to Adequately Train and Supervise
                                      42 U.S.C. § 1983
              (Against Defendants the City, the Auditor, and the Auditor’s Office)

           271.   Plaintiffs incorporate all other paragraphs of this Complaint as if fully set

 forth herein.

           272.   At all times relevant to this Complaint, Defendants were acting under the

 color of law.

           273.   Defendants the City, the Auditor, and the Auditor’s Office have

 disregarded statutory limitations and engaged in unauthorized practices that have

 allowed Defendants Denver Labor and Director Fritz-Mauer to issue document

 requests, adverse and harmful inferences, penalty determinations, and fines and

 penalties in violation of Plaintiffs’ constitutional due process rights.

           274.   Defendants the City, the Auditor, and the Auditor’s Office have

 consciously failed to train and supervise Denver Labor and Director Fritz-Mauer so that

 constitutional violations do not occur.




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        275.     Defendants the City, the Auditor, and the Auditor’s Office have actual and

 constructive notice that their failure to adequately train and supervise Denver Labor and

 Director Fritz-Mauer are substantially certain to result in a constitutional violation and

 have consciously and deliberately chosen to disregard that risk of harm.

        276.     Defendants deprived, and are continuing to deprive, Plaintiffs of the rights

 secured to them by the Fourteenth Amendment to the United States Constitution.

        277.     Defendants’ policies, practices, and customs are the moving force behind

 the constitutional deprivations described herein.

                                  THIRD CLAIM FOR RELIEF
                                    Declaratory Judgment
                                      28 U.S.C. § 2201
                                   (Against All Defendants)

        278.     Plaintiffs incorporate all other paragraphs of this Complaint as if fully set

 forth herein.

        279.     An actual and justiciable controversy exists between Plaintiffs and

 Defendants regarding the following:

                 a.     Denver Labor’s authority to issue the penalty determinations;

                 b.     Whether Denver Labor exceeded the Auditor’s statutory authority

                        by imposing penalties without legal justification;

                 c.     Whether the administrative hearing processes, as conducted by

                        Hearing Officer Kelman, violated Plaintiffs’ due process rights;




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              d.     Whether Denver Labor’s demands for confidential entertainer

                     records exceeded the Auditor’s investigatory authority under the

                     DRMC;

              e.     Whether the subpoenas, investigations, document and information

                     requests, and penalties imposed on Plaintiffs were lawful under the

                     DRMC and Denver’s City Charter; and

              f.     Whether Denver Labor’s attempt to reclassify entertainers as

                     employees was beyond the scope of the City and the Auditor’s

                     statutory authority.

       280.   Based on the foregoing, Plaintiffs respectfully ask this Court to:

              a.     Declare that all provisions of DRMC, Chapter 58, Article I, and

                     Defendants’ related rules are preempted and invalid to the extent

                     they purport to enforce any state or federal law that does not

                     specifically authorize enforcement by Defendants;

              b.     Declare that all provisions of DRMC, Chapter 58, Article I, and

                     Defendants’ related rules are preempted and invalid to the extent

                     they conflict with the provisions of state law, including the

                     administrative procedures incorporated by Colorado wage laws and

                     federal labor statutes;

              c.     Declare that all enforcement provisions of DRMC, Chapter 58,

                     Article I, and Defendants’ related rules are preempted and invalid

                     because they assign duties and powers to the Denver Auditor’s


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                   Office and Denver Labor that are inconsistent with the provisions of

                   Denver’s Charter;

             d.    Declare that Defendants have no authority or jurisdiction to initiate

                   investigations, impose penalties, or demand confidential business

                   records beyond the statutory limits set forth in DRMC Chapter 58

                   and Denver’s City Charter;

             e.    Declare that Defendants have no authority or jurisdiction to

                   reclassify independent contractors as employees in a manner

                   inconsistent with state and federal labor laws;

             f.    Declare that Denver Labor’s fines and penalties imposed on

                   Plaintiffs are invalid and unenforceable as they exceed the scope of

                   statutory authority and violate Plaintiffs’ due process rights;

             g.    Declare that Defendants’ enforcement actions, including the

                   imposition of excessive fines and penalties, are unconstitutional

                   takings in violation of the Fourteenth Amendment of the United

                   States Constitution;

             h.    Declare that Denver Labor’s unauthorized demands for confidential

                   entertainer and business records were unlawful and outside the

                   scope of their investigatory authority under DRMC.; and

             i.    Make any other declarations consistent with the constitutional and

                   jurisdictional limitations of Defendants’ authority to regulate wage

                   and hour laws, as the Court may deem just and appropriate.


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                                   PRAYER FOR RELIEF

       Plaintiffs respectfully request the following relief:

              a.     All appropriate relief at law and equity;

              b.     Declaratory relief;

              c.     Injunctive relief;

              d.     Actual economic damages as established at trial;

              e.     Compensatory damages, including, but not limited to those for past

                     and future pecuniary and non-pecuniary losses, loss of liberty,

                     privacy, and sense of security and individual dignity, and other non-

                     pecuniary losses;

              f.     Punitive damages for all claims as allowed by law in an amount to

                     be determined at trial;

              g.     Issuance of an Order mandating appropriate equitable relief;

              h.     Issuance of an Order enjoining Defendants and their officers,

                     agents, affiliates, subsidiaries, employees, and all other persons or

                     entities in active concert or privity or participation with them, from

                     taking further retaliatory action against Plaintiffs;

              i.     Issuance of an Order enjoining Defendants and their officers,

                     agents, affiliates, subsidiaries, employees, and all other persons or

                     entities in active concert or privity or participation with them, from

                     further harassing Plaintiffs by, including but not limited to, issuing

                     baseless requests for information, issuing illegal and unauthorized


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                     subpoenas, and imposing arbitrary response deadlines to written

                     correspondence.

             j.      Pre-judgment and post-judgment interest at the highest lawful rate;

             k.      Attorney’s fees and costs; and

             l.      Such further relief as justice requires.

                                      JURY DEMAND

                  Plaintiffs demand a trial by jury on all issues so triable.



       Respectfully submitted this 7th day of March, 2025.

                                                   /s/ Leah P. VanLandschoot
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